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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )                  8:11CR306
                     Plaintiff,               )
                                              )
              v.                              )
                                              )                    ORDER
JUSTIN WARNACA,                               )
                                              )
                     Defendants.              )
                                              )


       This matter is before the court on defendant’s oral and written requests for release,
Filing Nos. 38 and 39, from detention made on December 15, 2011, following his plea
colloquy. The court has reviewed the original and supplemental pretrial report. The court
agrees with the magistrate judge’s finding that no set of conditions could insure the
defendant’s appearance or the safety of the community. The court need not hold a hearing
on this matter, and thus the hearing set for December 22, 2011, is canceled.

       THEREFORE, IT IS ORDERED:

       1. The defendant’s motion for release, Filing No. 38, is denied.

       2. The hearing scheduled for December 22, 2011, is canceled.

       DATED this 16th day of December, 2011.

                                             BY THE COURT:



                                             s/ Joseph F. Bataillon
                                             United States District Judge
